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                          **NOT FOR PRINTED PUBLICATION**

                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

ICON HEALTH & FITNESS, INC.,                    §
                                                §
       Plaintiff,                               §
                                                §       CIVIL ACTION No. 4:11CV271
v.                                              §
                                                §
SOURCE NETWORK SALES AND                        §       JUDGE RON CLARK
MARKETING, INC.,                                §
                                                §
       Defendant.                               §
                                                §

                            ORDER ON CLOSING DOCUMENTS

       Before the court is the parties’ stipulation to extend certain deadlines in this case

[Doc. #23]. The parties state that they have agreed in principle to settlement terms in this matter

and request a thirty-day extension of certain deadlines in order to finalize their settlement

agreement. The court accepts the parties’ stipulation. Accordingly, it is ORDERED that the

July 15, 2011 deadline for P.R. 3-3 Invalidity Contentions (and P.R. 3-4 document production)

to be served is extended to August 14, 2011. It is further ORDERED that the July 22, 2011

deadline for the parties to exchange proposed terms for construction and identify any claim

element governed by 35 U.S.C. § 112, ¶ 6 (P.R. 4-1) is extended to August 21, 2011.

       In light of the parties’ settlement, it is further ORDERED that all parties or their counsel

shall submit to the court all papers necessary for the closing of this case and its removal from the

active docket of this court on or before August 17, 2011. If such papers are not received by

the court by the scheduled deadline, the court may enter such orders as are just and


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necessary to insure prompt resolution of this case without further notice to the parties. Any

request for extension of the deadline for closing documents or for further extension of scheduling

order deadlines must be made by motion, not stipulation. See Fed. R. Civ. P. 16(b)(4) (schedule

may be modified only for good cause and with the judge’s consent).
      So ORDERED and SIGNED this 13 day of July, 2011.




                                                    ___________________________________
                                                    Ron Clark, United States District Judge




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